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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )                  Case No. 3:18-cv-966-SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

                  DEFENDANTS’ OBJECTIONS AND RESPONSES TO
                 PLAINTIFF’S RULE 26(a)(3) PRETRIAL DISCLOSURES

       Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., Visual Concepts

Entertainment, and World Wrestling Entertainment, Inc. (collectively, “Defendants”), by

counsel, and in accordance with Federal Rule of Civil Procedure 26(a)(3) submit the following

objections and responses to Plaintiff’s Pretrial Disclosures (Dkt. 224) (“Pl.’s 26(a)(3) Discl.”).

I.     LIVE TESTIFYING WITNESSES

       Defendants object to Plaintiff’s Witness No. 7—namely “[a]ny witness, employee,

officer or representative of any Defendant who is present in the courtroom at any point during

trial,” Pl.’s 26(a)(3) Discl., Ex. B, at 1—as Rule 26(a)(3)(i) required Plaintiff to identify her

witnesses by name. Accordingly, the Court should strike Plaintiff’s Witness No. 7. See Fed. R.

Civ. P. 37(c)(1); see also Watts v. 84 Lumber Co., No. 14 Civ. 327, 2016 WL 7732935, at *1

(S.D. Ill. Feb. 12, 2016) (striking un-named witnesses from party’s Rule 26(a)(3) disclosures).
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        In addition to the foregoing objection, Plaintiff did not list such witnesses in the parties’

Final Pretrial Order submission. Ex. 1. Thus, Plaintiff has waived such unknown witnesses.

See Mankey v. Bennett, 38 F.3d 353, 358–59 (7th Cir. 1994) (upholding exclusion of witness not

listed in pretrial order).

II.     TESTIMONY THROUGH DEPOSITION DESIGNATION

        In response to Plaintiff’s September 18, 2020 deposition designations, Pl.’s 26(a)(3)

Discl., Ex. A, Defendants submit Exhibit 2 hereto indicating their objections to Plaintiff’s

designations of testimony. Defendants also identify counter-designations to Plaintiff’s

designations, as identified in Exhibit 3. Defendants’ objections to exhibits as indicated in

Section III, below, also apply to any corresponding deposition exhibits designated by Plaintiff, as

well as any designated testimony referring to or relating to such exhibits. Defendants reserve the

right to play any of their counter-designations in response to any designated testimony played by

Plaintiff at trial.

III.    EXHIBITS

        Defendants object to Plaintiff’s September 18, 2020, initial exhibit list (Dkt. 221) as

indicated in Exhibit 4 hereto. Defendants also identify the exhibits listed in Exhibit 5 hereto as

rebuttal exhibits in response to Plaintiff’s exhibit list.

        Defendants reserve the right to use discovery answers, pleadings, any other documents

exchanged in discovery, and any and all exhibits designated by Plaintiff if the need arises.

Defendants reserve the right to use any materials brought to Court by any witness.

        Defendants further reserve the right to utilize demonstrative exhibits, including without

limitation illustrations, summaries, charts, models, computer animations, PowerPoint

presentations, videos, and enlargements of portions of exhibits.




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       Defendants preserve all objections to any and all exhibits identified and/or offered by

Plaintiff. Defendants specifically preserve the right to object to the introduction of any exhibit

for lack of personal knowledge by the sponsoring witness and/or failure to lay appropriate

foundation for the exhibit to be introduced. Defendants are unaware at this time of any

additional exhibits that they may offer, but reserve the right to present rebuttal or impeachment

evidence as necessary.



Dated: October 16, 2020                       Respectfully submitted,

                                              /s/ Dale M. Cendali
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                                              Sports, Inc., Take-Two Interactive Software,
                                              Inc., and Visual Concepts Entertainment




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )              Case No. 3:18-cv-966-SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA, INC., )
                                       )
                                       )
            Defendants.                )

                               CERTIFICATE OF SERVICE

        I hereby certify that on October 16, 2020, I electronically filed the foregoing
DEFENDANTS’ OBJECTIONS TO PLAINTFF’S RULE 26(a)(3) PRETRIAL DISCLOSURES
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:
                  Anthony G. Simon              asimon@simonlawpc.com
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                                                and Visual Concepts Entertainment
